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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


KALDEROS INC,

               Plaintiff,

       v.                                         Civil Action No. 21-2608 (DLF)

UNITED STATES OF AMERICA, et. al.,

               Defendants.


ELI LILLY AND COMPANY,

       Plaintiff,

       v.
                                                  Civil Action No. 24-3220 (DLF)
ROBERT F. KENNEDY, JR., Secretary of
Health and Human Services et al., et al.,

               Defendants.


BRISTOL MYERS SQUIBB COMPANY,

               Plaintiff,

       v.
                                                  Civil Action No. 24-3337 (DLF)
ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services et al.,

               Defendants.


SANOFI-AVENTIS US, LLC,

              Plaintiff,                          Civil Action No. 24-3496 (DLF)

      v.
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ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services, et al.,

               Defendants.


NOVARTIS PHARMACUTICALS CORP,

               Plaintiff,

       v.                                                 Civil Action No. 25-0117 (DLF)
ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services et al.,

               Defendants.


                                             NOTICE

       Large-scale implementation of rebate models to effectuate the 340B ceiling price would be

a significant change for the 340B Program and its stakeholders. Because the implications are not

straightforward, the Department of Health and Human Services continues to carefully evaluate its

options alongside ongoing efforts to address 340B program integrity matters and keeping in mind

the approaching effective date of certain Inflation Reduction Act requirements. The Department

expects to be in a position to provide guidance for stakeholders in thirty days.

 Dated: May 2, 2025                             Respectfully submitted,

                                                EDWARD R. MARTIN, JR., D.C. Bar #481866
                                                United States Attorney

                                                By:           /s/ John J. Bardo
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